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                                  ^ntteb ^tate0 Bisftrtct Court
                                     SOUTHERN DISTRICT OF GEORGIA
                                                DUBLIN DIVISION


                            CHANGE OF PLEA/ENTRY OF PLEA MINUTES


Case No. 3:21 CR 0002          Times: 1:15 PM - 2:05 PM

United States of America
                                                                      Tania Groover
             vs.


                                                                      U. S. Attorney
David Harrell                                                          Troy Marsh,cja

 Defendant/Age                                                        Attorney for Defendant


   [71 Plea agreement (Received),                  [71Defendant Sworn             [ [Counsel Waived.
   □ Plea agreement previously filed.
   □ Arraigned and plead                                     to count(s)
   □ Plea of not guilty withdrawn and plea of                                                  entered as to count(s)
                                              of the indictment.
   I   I                                                                                  John Siegenthaler, DSS,
   ITJ Factual basis Established. Oral.                        Witness for factual basis Dep't. of State            b. •
   □ Adjudication of guilt
   □ Referred to probation office for pre-sentence investigation
   □ Sentencing Scheduled for                                    at                                             .
   □ Bond Continued                        Bond modified to                                          .
           Bond set at

   □ Bond not made defendant in jail.
   □ Defendant remanded to custody of United States Marshal.


       c^s'dJueJuJ^y for- /
Honorable Dudley H. Bo wen, Jr., U. S. District Court Judge            Date 8/20/2022
Court Reporter           Lisa Davenport                                Probation Officer Joe Brown
Courtroom Deputy Clerk         Jeanne Hyder                            U.S. Marshal N. Scripture
